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                                                                                                         ZADIG & VOLTAIRE
                                                                                                         Ships and sold by Zadig & Voltaire


                                                                                                         X Micol Sabbadini T-Shirt
                                                                                                         $33.00 $118.00 72% off
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                                                                                                         Size (Adult - Women)                               Size Guide



                                                                                                         Color — White




                                                                                                                                      SOLD OUT



                                                                                                         Details
                                                                                                         Zadig & Voltaire t-shirt, print GIVE US HOPE.
                                                                                                         This message, photographed by Micol
                                                                                                         Sabbadini, a young Italian artist, during the
                                                                                                         2017 Women’s March in New York City,
                                                                                                         denounces a deep-seated disparity between the
                                                                                                         sexes that still exists. Zadig & Voltaire ha




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